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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


UNITED STATES OF AMERICA                                                         §
                                                                                 §
v.                                                                               §   CRIMINAL NO. H-97-036-23
                                                                                 §
FRED LANDERS HERNDON, JR.                                                        §


                                                                         ORDER

            The Court has before it a pro se motion filed by Defendant Fred Landers

Herndon, Jr. seeking modification of his sentence of incarceration under 18 U.S.C.

§ 3582(c)(2) and the United States Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(c)(2)

as amended effective March 3, 2008, the Retroactivity of Crack Cocaine Amendment.

See Doc. # 1603. The Court has carefully reviewed Defendant’s motion, the

applicable law, the applicable U.S.S.G. provisions, and the facts and procedural

posture of Defendant’s case. Defendant’s requested relief is denied.

            Defendant currently is serving a sentence of 240 months of imprisonment on

Counts 167, 168 and 169, in which he was charged with distribution of less than 5

grams of cocaine base in violation of 211 U.S.C. § 841(a)(1) and (b)(1)(C), on several

occasions. Defendant also is serving a 120 month concurrent sentence on Count 1,

charging conspiracy to possess with intent to distribute more than 50 grams of

cocaine base in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(iii). These

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charges were subject to the statutory enhancement filed by the Government pursuant

to 21 U.S.C. § 851, which increased the statutory minimum for Count 1 to 240

months, and increased the maximum statutory penalties on Counts 167, 168 and 169

to 360 months.

            At sentencing, the Court held Defendant accountable for 2.12 kilograms of

cocaine base. Under the retroactive amendments to U.S.S.G. § 2D1.1, this quantity

of cocaine base results in a base offense level of 36. Applying all the same

adjustments as in the original sentencing, the total offense level is 36, and

Defendant’s criminal history category remained I. The guideline imprisonment range

is 188 to 235 months, but the Court cannot reduce Defendant’s sentence. The

statutory minimum required by the § 851 statutory enhancement prevents the sentence

from being less than 240 months. It is therefore

            ORDERED that Defendant Fred Landers Herndon, Jr.s Motion for reduction

of sentence [Doc. # 1603] is DENIED.

            SIGNED at Houston, Texas this 14th day of October, 2008.




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